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ae e120 CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS DEFENDANTS
Dr. Carol Allen. Long Island University
(b) County of Residence of First Listed Plaintiff _| Jnion County County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attomeys (Firm Name, Address, and Telephone Number) Attorneys (If Known)

Reginald Allen, Esq., 7601Crittenden Street, f-12,
Philadelphia, PA 19118

 

 

 

 

 

  

 

 

 

     
 

 

 

 

 

 

 

     

 

 

 

 

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Hi. BASIS OF JURISDICTION (Place aa “xX” in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
[Ji U.S. Government [_]3 Federal Question PIF DEF PIF DEF
Plaintiff (U.S. Government Not a Party} Citizen of This State [11 [J 1 meorporated or Principal Place [14 [4
of Business In This State
[]2 U.S. Government [x]4 Diversity Citizen of Another State [<]2 [7] 2 Incorporated and Principal Place [[] 5 []5
Defendant (indicate Citizenship of Parties in Jtem HD) of Business In Another State
Citizen or Subject of a C13 [] 3 Foreign Nation Lie (6
Foreign Country
IV. NATURE OF SUIT (Place an “¥” in One Box Only) Click here for: Nature of Suit Code Descriptions.
Lee SCONTRAGT (a ye Ce NORTS Ge ne _FORFEITURE/PENALTY [BANKRUPTCY _ _ OTHER STATUTES _
110 Insurance PERSONAL INJURY PERSONAL INJURY |] 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane O 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability Cl 367 Health Care/ 400 State Reapportionment
150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical TY RIGHTS 410 Antitrust
& Enforcement of Judgment} Slander Personal Injury 820 Copyrights | 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability C 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Exchides Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
[[] 153 Recovery of Overpayment Liability PERSONAL PROPERTY [| LABOR 2 | | 880 Defend Trade Secrets [] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[_] 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act |_| 485 Telephone Consumer
[_] 190 Other Contract Product Liability 380 Other Personal |_]720 Labor/Management ___ SOCTAL SEC pe Protection Act
195 Contract Product Liability |] 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury Cc] 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) | __ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
REAL PROPERTY |. CIVILRIGHIS. TP ISONER PETITIONS | _]790 Other Labor Litigation 865 RSI (405(g)) [| 891 Agricultural Acts
| [210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement 893 Environmental Matters
[_|220 Foreclosure 44] Voting 463 Alien Detainee Income Security Act __ FEDERAL TAX SUITS |_| 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate [| 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations 530 General | 871 IRS—Third Party 899 Administrative Procedure
[ ]290 All Other Real Property x} 445 Amer. w/Disabilities -| | 535 Death Penalty o IMMIG TION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
a 446 Amer. w/Disabilities -[ | 540 Mandamus & Other 465 Other Immigration T] 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|_| 448 Education 555 Prison Condition
360 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only}
Ee] 1 Original 2 Removed from mM 3. Remanded from Oo 4 Reinstated or CO 5 Transferred from 6 Multidistrict CO 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
ADA AND ADAA
VI. CAUSE OF ACTION Brief description of cause:
EMPLOYMENT DISCRIMINATION
VIL REQUESTEDIN [1] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 200,000.00 JURY DEMAND: _ [e]Yes [[]No
Vili. RELATED CASE(S)
(See instructions):
IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE OE IRNEY OF RECO!
06.21/2022 Agen hl
FOR OFFICE USE ONLY . ZZ
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: 1465 E. 7th Street, Plainfield, NJ 07062
Address of Defendant: 700 Northern Bivd., Roslyn Harbor, NY 11548

Place of Accident, Incident or Transaction:

 

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [ | No
previously terminated action in this court?

 

 

 

 

 

 

 

 

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No|@/
pending or within one year previously terminated action in this court? . ‘

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes No |
numbered case pending or within one year previously terminated action of this court? _—

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes No |

 

 

case filed by the same individual?

I certify that, to my knowledge, the within case Cis / (1 is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

are, 06/21/2022 Thawte (Mb 77083

-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

 

 

CIVIL: (Place a ¥ in one category only)

A, Federal Question Cases: B. Diversity Jurisdiction Cases:
C1 1. Indemnity Contract, Marine Contract, and All Other Contracts Cl |. Insurance Contract and Other Contracts
[CL] 2. FELA [} 2. Airplane Personal Injury
[] 3. Jones Act-Personal Injury L] 3. Assault, Defamation
[] 4. Antitrust (] 4. Marine Personal Injury
H 5. Patent L] 5. Motor Vehicle Personal Injury

6. Labor-Management Relations [J] 6. Other Personal Injury (Please specify):
CL] 7. Civil Rights LC] 7. Products Liability
[1 8. Habeas Corpus LC] &. Products Liability — Asbestos
Hy 9. Securities Act(s) Cases 9. All other Diversity Cases

10. Social Security Review Cases (Please specify):_____Emplovment Discrimination =
(1 11. All other Federal Question Cases

(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

I, Reg i n ald Al le n ; E sq - , counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

 

Relief other than monetary damages is sought.

pate; 06/21/2022

 

(“Ma — V1 OKZ

Attorney Gl-Law /Pro Se Plaintiff Attorney LD. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38,

 

Civ. 609 (5/2018)

 
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IN THE UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF PENNSYLVANIA

 

DR. CAROL ALLEN : CIVIL ACTION NO.
1465 E. 7™ STREET :
PLAINFIELD, NJ 07062 : JURY TRIAL DEMANDED
PLAINTIFF,
V.

LONG ISLAND UNIVERSITY

700 NORTHERN BLVD.

ROSLYN HARBOR, NY 11548
DEFENDANT.

 

COMPLAINT .
JURISDICTION

1. This matter is brought pursuant to the Americans with Disabilities Act
(ADA), the Americans with Disabilities Act as Amended (ADAA) and Title VII.
Jurisdiction is based on 28 U.S.C. § 1331, 28 U.S.C. S§ 1343, and the
aforementioned federal statutes. Jurisdiction is also based on diversity of
citizenship pursuant to 28 U.S.C. S 1332 and the amount in controversy
exceeds $75,000.00 (seventy five thousand dollars) exclusive of interests

and costs.

PARTIES
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. Plaintiff Dr. Carol Allen (from hereinafter “plaintiff’) is a resident of the

state of New Jersey and she resides at the address indicated in the caption

above.

. Defendant, Long Island University. (from hereinafter, “defendant” or “the

University”) is an institution of higher learning, a university, and it has an

address as indicated in the caption above. The defendant is an accredited

university which employs professors to teach college curriculum.
ADMINISTRATIVE AGENCY REQUIREMENTS

. Plaintiff filed a charge of discrimination with the United States Equal

Opportunity Commission (US EEOC) at charge number 524-2021-00687 for

which she received a right sue letter dated March 28, 2022. (See Exhibit A).

FACTUAL ALLEGATIONS

. Plaintiff began working for defendant in September 1995 as an Assistant

Professor in its English Department; since that time, the plaintiff has

become a tenured Full Professor, working in the English, Philosophy and

Foreign Languages Department.

. Atall times during her employment for the defendant, the plaintiff

performed her duties in an exemplary fashion, and she was highly qualified

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for her duties at all times.

. The plaintiff regularly went well beyond the scope of her duties to benefit
the defendant, including taking on projects to attempt to improve its racial
and ethnic diversity for many years, although she received push back and
resistance on many occasions when she attempted to have diversity
initiatives put into effect.

. The plaintiff is of the African American Race and is Black.

. The plaintiff is disabled by way of extremely high blood pressure which she
has suffered from for years; the plaintiff’s high blood pressure
(hypertension) substantially impairs her ability to control the force of the
blood in her arteries, which results in inordinate pounding against the

artery walls.

10. Despite, the plaintiff's disability summarized in paragraph 9 above, she

was able to perform the essential functions of her duties for the defendant,

with or without accommodation.

11. In August of 2020, the plaintiff requested a reasonable accommodation

from the defendant to teach virtually based on her hypertension; this
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request was made in the context of a raging worldwide COVID pandemic,
for which no attempted preventive vaccines had yet to been developed or
distributed.

12. Dr. Allen learned that the University was offering other of her
professional peers an accommodation of the type she requested, and she
learned that at least four Caucasian employees received the
accommodation of being allowed to teach and work remotely, not having
to travel to the University - the plaintiff is unaware that those persons who
the University allowed to work remotely were or were not disabled.

13. The plaintiff also learned that other African American professors also
requested to work remotely, but either they were denied by the defendant,
or they were ignored by the defendant.

14. At the time that the plaintiff requested the reasonable accommodation
referred to above, the defendant knew that she commuted from her
residence in Plainfield NJ to come to its campus in Brooklyn, which included
taking a train (New Jersey Transit), as well as the subway in New York.

15. The plaintiff's hypertension is aggravated by stress — plaintiff found that
traveling on New Jersey transit and then\on the subway to be extremely

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stressful, because she became aware from national news stories that
COVID outcomes were disproportionately worse for African Americans of
her approximate age (57 years old as of August 2020), and also for persons
who suffered from high blood pressure, amongst other co-morbidities.

16. In making her request to the defendant for a reasonable accommodation
in August 2020, the plaintiff informed it of the nature of her disability.

17. On/around September 4, 2020, the defendant, through its authorized
managerial personnel, informed the plaintiff that it did not believe that her
medical condition was serious enough to warrant her working remotely
(from home), and told the plaintiff that it would provide her with masks
and wipes; the defendant informed the plaintiff that it expected her to
teach in person for the entire semester.

18. After school began up until October 6, 2020, the plaintiff worked in
person, commuting as described above.

19. On October 6, 2020, the plaintiff spoke to the Chair of her department,
Leah Dilworth, and told her that she was struggling to come in to teach in

person and that the work condition of traveling and teaching in person was
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negatively affecting her health — Ms. Dilworth suggested that the plaintiff
reach out to the defendant’s “Human Resources” office again, to have it
review her request for an accommodation again.

20. The plaintiff followed Ms. Dilworth’s suggestion, and “Human Resources”
told the plaintiff that it would get back to her, however, it never did.

21. On November 24, 2020, as a result of extremely high blood pressure, the
plaintiff suffered a stroke, requiring that she had to be taken from her
home by ambulance to a hospital in New Jersey; the plaintiff was
debilitated to the extent that she could not even attempt to reach her
family.

22. The plaintiff was admitted to the hospital for several weeks and she
informed the defendant of her status in the hospital.

23. Due to COVID, there were travel restrictions between states, and the
majority of the plaintiff's family, who reside in Pennsylvania, could not visit
her while she was hospitalized, or after|her release to home for a period of
time.

24. Even after notice that the plaintiff suffered a stroke, the defendant still
ignored and/or denied the plaintiff an accommodation.

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25. The plaintiff's requested accommodation was not unreasonable and it did
not create an undue hardship for the University, as proven by the fact that
the University extended the same accommodation that the plaintiff
requested to other of its Caucasian professors.

26. The plaintiff discussed the apparent denial of her request for
accommodation with her union grievance chair, Syed Ali, in December
2020, whom she believes conveyed her request for accommodation to the
defendant again (including what had happened thus far leading up to
November 24, 2020, and the events of that day and thereafter), however
the defendant still never informed the plaintiff that she would be
accommodated in any manner or otherwise.

27. Asa result of the defendant’s actions in either or both ignoring or
rejecting the plaintiff's request for the accommodation of working
remotely, the plaintiff, who was incapacitated from the effects of stroke
and her hypertension, had to use all of her sick leave for the Spring
Semester.

28. The defendant refused to engage in even the slightest form of an
interactive process with the plaintiff, including that it told her that her

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serious impairment, which can be life threatening, was not serious enough
for an accommodation, and it repeatedly simply ignored the plaintiff after
her requests, and refused to communicate with her of her union.

29. Conversely, the defendant treated at least three Caucasian professors
entirely differently than it did the plaintiff, entertaining their respective
requests to work remotely and by necessary inference, engaging in some
form of interactive process with them and cooperating and communicating
with them.

30. The plaintiff suffered economic harm by the defendant’s conduct,
including having to pay travel costs, up until the time she had a stroke;
costs which her similarly situated Caucasian peers did not have to spend;
Additionally, the plaintiff had to use her earned and valuable sick leave
after her stroke until it was exhausted to recover, which her similarly
situated Caucasian peers referred to above did not have to do.

31. During the EEOC process, the plaintiff received the defendant’s position
paper, in which it appears to attempt to justify its refusal to even attempt
to reasonably accommodate the plaintiff, by suggesting that it was
attempting to balance the effects of COVID against the need for in person

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learning (the defendant claims that it needed to provide in person learning
unless an overwhelming number of students “chose” to attend classes
remotely).

32. In fact, a University study of the students at its Brooklyn campus at the
beginning of its 2020 fall semester, showed that a wide majority of the
students chose to learn remotely.

33. In the plaintiff's case, as of November 2020, she was traveling from
Plainfield to Brooklyn to teach between7 to 9 students across three classes;
the plaintiff learned that the overwhelming majority of her students
wanted to learn remotely, at least in part out of fear of the “virus”; the
plaintiff learned that students that were appearing to class in person,
generally did not know how to sign up to attend remotely.

34. After the 2020 Thanksgiving break, the defendant made all learning at the
Brooklyn campus remote based on COVID; neither the faculty nor the
students desired to come to campus due to COVID.

35. If the defendant had engaged in an interactive process with the plaintiff at
the beginning of the fall 2020 semester, it would have learned of the dearth

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of students in her classes and at the Brooklyn campus, and that any alleged
contention it had about student demand to come to class in person was
false.

36. Asa result of the defendant’s actions and intentional actions described
above, including refusing the even attempt to reasonably accommodate
her, the plaintiff suffered severe emotional distress and severe economic
harm; this included excessive stress and worry about catching and dying
from COVID from traveling and teaching in person; she also suffered severe
emotional distress, realizing that her hypertension was worsening from
September 2020 until she had a stroke on November 24, 2020.

37. Thereafter, the plaintiff suffered severe emotional distress from having
had a life threatening stroke, for which she has still not fully recovered
from, up until the present.

38. The plaintiff suffered severe economic harm from the defendant's
discriminatory conduct, by having to expend significant money to travel to
campus, and then having to utilize her entire sick leave after her stroke, for
the spring 2021 semester, because she was unable to work due to her
stroke.

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FIRST CAUSE OF ACTION — DISCRIMINATION BASED ON DISABILITY IN
VIOLATION OF THE ADA AND ADAA

39. Plaintiff incorporates paragraphs 1-38 above as though fully set forth
herein.

40. The plaintiff is and was disabled based on extremely high blood pressure,
which substantially affected and affects her ability to regulate the force of
the flow of blood in her body against the arteries therein; Hypertension can
be life-threatening and result in strokes and heart attacks; the plaintiff
suffered a stroke as a result of her hypertension, as described above.

41. Despite her disability, the plaintiff was able to perform the essential
functions of her duties for the defendant, with or without accommodation
and she was qualified for all of her duties.

42. The plaintiff requested a reasonable accommodation to teach remotely
due to her disability, in the context of COVID, for which persons with
hypertension, including African Americans of the plaintiff's age were having
disproportionately bad outcomes if they contracted the virus in the fall of

2020, including disproportionate death.

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43. The defendant intentionally denied the plaintiff a reasonable
accommodation, including that if repeatedly refused to even engage in an
interactive process with her to determine a reasonable accommodation.

44. Reasonably accommodating the plaintiff would not have caused an undue
hardship for the defendant, as evidenced by the fact that it provided the
exact accommodation to other of its professors that the plaintiff sought.

45. The plaintiff suffered severe emotional distress and substantial economic
harm based on the defendant’s conduct — the plaintiff's economic harm
also comes from the fact that as a result of effects of her stroke, she has
been forced to choose to retire earlier than she would otherwise have
chosen to retire, resulting in lost future income.

WHEREFORE, plaintiff requests judgment in her favor against defendant and

she requests the following relief:
a. Front pay;

b. Compensatory damages;

Punitive damages;

d. Reasonable attorney’s fees and costs;

. Any Other Relief the Court Deems Appropriate;

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SECOND CAUSE OF ACTION — VIOLATION OF TITLE Vii —
RACIAL DISCRIMINATION

46. Plaintiff incorporates paragraphs 1-45 above as though fully set forth
herein.

47. The defendant intentionally discriminated against the plaintiff based on
her race, African American (Black), by treating her differently and worse
than her similarly situated Caucasian peers, whom it endeavored to
reasonably accommodate by allowing them to reach remotely due to
COVID in the fall semester of 2020, while refusing the plaintiff the same.

48. As a result of the defendant’s discriminatory conduct, the plaintiff suffered
severe emotional distress and substantial economic harm.

WHEREFORE, plaintiff requests judgment in his favor against defendant, and

he requests the following relief:
a. Front pay;

b. Compensatory damages;
c. Punitive damages

d. Any Other Relief the Court Deems Appropriate.

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Respectfully submitted,

/s/Reginald Allen, Esquire

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